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                                                      August 15, 2019

        VIA ECF

        Honorable Pamela K. Chen
        United States District Judge
        United States District Court, Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                  Re:     Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (PKC)(CLP)

        Dear Judge Chen:

                Plaintiffs respectfully write in response to the Court’s August 8, 2019 Minute Order
        directing the parties to file letter briefs analyzing the relevance, if any, of the Second Circuit’s
        decision in Siegel v. HSBC N. Am. Holdings, Inc., No. 18-2540-cv, 2019 WL 3719976 (2d Cir.
        Aug. 8, 2019) (“Siegel III”) to the motions and objections currently pending before the Court.

                In In re Terrorist Attacks on September 11, 2001, 714 F.3d 118 (2d Cir. 2013), the Second
        Circuit affirmed dismissal of ATA claims against the Saudi bank Al Rajhi Bank (“ARB”), among
        others, for allegedly providing material support to al Qaeda because the plaintiffs had failed to
        adequately plead that ARB’s accounts or donations were used to provide funds to al Qaeda and
        thereby proximately cause the September 11, 2001 attacks. Nonetheless, the Siegel plaintiffs not
        only sued ARB for the same alleged conduct (albeit for a different al Qaeda attack), but also added
        seven HSBC defendants whom they alleged provided support to ARB. After courts dismissed ARB
        and five of the seven HSBC defendants on personal jurisdiction grounds, the Siegel third amended
        complaint (“TAC”) against the remaining HSBC defendants—that were even further removed
        from the ARB conduct already found insufficient to satisfy proximate cause—was also dismissed.
        The Second Circuit affirmed that dismissal in Siegel III.

                However, Siegel and its history are instructive as to how cases that copy Freeman’s
        allegations and theories out of context or rely on the Freeman Report and Recommendation
        (“R&R”) to prop up legally insufficient complaints can be wielded by defendants as stalking horses
        against well-pleaded complaints such as the operative complaint here (“Freeman SAC”).

        Siegel’s Procedural History

                The Siegel plaintiffs, victims of a series of bombings perpetrated by al Qaeda in Iraq
        (“AQI”) in 2005, commenced their action in 2015 in the Northern District of Illinois. They named
        ARB and seven HSBC entities, alleging that ARB provided material support to AQI and that the
        HSBC defendants knew that ARB was suspected of doing so but nevertheless violated “banking
        regulations” by providing ARB with correspondent banking services.
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          The complaint’s theory of liability was opaque. It asserted two claims under 18 U.S.C.
  § 2333. The first claim was asserted against the HSBC defendants for breach of fiduciary duty
  (“HSBC was under a heightened duty as a fiduciary of banks and charities, and as a public servant
  endowed with the public’s trust.” Siegel Compl. ¶ 95). 1 The plaintiffs asserted that “HSBC was
  under a general duty to implement and enforce due diligence methods to prevent its banks from
  being used to intentionally injure, maim or kill, commit criminal or tortuous acts, endanger lives,
  and engage in activity that would foreseeable [sic] lead to the personal injury and/or death of the
  plaintiffs.” Id. ¶¶ 96-97. The second claim, asserting similar allegations, was directed against ARB.
  Id. ¶¶ 99-102.

         Having essentially articulated a negligence claim, the Siegel plaintiffs clearly did not allege
  that HSBC’s relationship with ARB involved any of the illegal, active collusion comparable to the
  conduct alleged in Freeman. The complaint’s single substantive source—a Staff Report from the
  U.S. Senate’s Permanent Subcommittee on Investigations entitled U.S. Vulnerabilities to Money
  Laundering, Drugs, and Terrorist Financing: HSBC Case History (July 17, 2010) (the “Senate
  Report”)—does not either. Although the Siegel complaint did allege that the HSBC defendants
  engaged in wire stripping, that language was copied nearly verbatim from the original Freeman
  complaint. Compare Siegel Compl. ¶ 69 and Freeman Orig. Compl., ECF No. 1, ¶ 1019. The first
  amended Siegel complaint (“FAC”) borrowed further from Freeman. Compare Siegel FAC ¶¶ 70-
  71, 89-90 and Freeman SAC ¶¶ 360-61, 572, 574. 2

          After Judge Blakey in the Northern District of Illinois dismissed the plaintiffs’ claims
  against ARB, HSBC Holdings and HSBC Middle East for lack of personal jurisdiction and
  transferred the remainder of the action to the Southern District of New York, the Siegel plaintiffs
  sought leave to file a second amended complaint (“SAC”) in order to resurrect their claims against
  ARB and HSBC Holdings. The SAC added allegations that HSBC Holdings’ “personnel were
  aware of, supported, and encouraged HSBC Bank USA to provide U.S. correspondent banknotes
  accounts to Al Rajhi Bank,” and that “[o]n and before November 9, 2005, Al Rajhi Bank did
  business with HSBC Bank USA inside the United States.” Siegel v. HSBC Holdings, PLC, No. 17-
  cv-6593 (DLC), 2018 WL 501610, at *1-2 (S.D.N.Y. Jan. 19, 2018) (“Siegel I”). Judge Cote,
  however, denied the plaintiffs’ application as futile and dismissed with prejudice all claims against
  ARB and HSBC Holdings. Id. at *4 (quoting In re Terrorist Attacks, 714 F.3d at 676).

         After being given a final opportunity to amend their complaint as to the two remaining
  defendants, HSBC Bank USA, N.A. and HSBC North America Holdings, Inc., the plaintiffs filed
  their TAC on March 16, 2018. Like its predecessors, the TAC asserted a claim under § 2333
  (without identifying which subsection) against the remaining (now exclusively U.S.-based) HSBC
  defendants for violating their “general duty to implement and enforce due diligence methods.” See,

  1
           So as not to burden the Court, we have not attached the Siegel complaints and briefs cited herein; however,
  we will readily provide copies of the cited documents at the Court’s request.
  2
          The original Siegel complaint’s allegations relating to ARB consisted of allegations that ARB “knew or
  should have known that the funds deposited in the accounts established and maintained by it . . . were used to support,
  encourage, entice and make possible these suicide bombings . . . .” Siegel Compl. ¶ 93.
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  e.g., TAC ¶¶ 119-21. During briefing of the defendants’ motion to dismiss, the plaintiffs disavowed
  a primary liability claim in favor of aiding and abetting under § 2333(d) of the Justice Against
  Sponsors of Terrorism Act (“JASTA”). See Siegel v. HSBC Bank USA, N.A., No. 17-cv-6593
  (DLC), 2018 WL 3611967, at *4 (S.D.N.Y. July 27, 2018) (“Siegel II”).

          Nonetheless, because the TAC defendants were reduced to HSBC Bank USA, N.A. and
  HSBC North America Holdings, Inc., the recital of the same allegations that the plaintiffs had
  previously directed at the dismissed non-U.S.-based HSBC entities was now internally incoherent.
  To begin with, ARB (which the plaintiffs alleged was the direct conduit to AQI) had already been
  dismissed for lack of specific personal jurisdiction because the plaintiffs had failed to plead any
  specific flow of funds through the United States by ARB to AQI. Without such allegations there
  were, a fortiori, no non-conclusory allegations tying the U.S.-based HSBC defendants to ARB
  funds transfers to AQI. Instead, the plaintiffs had added (as of their FAC) cites to the Deferred
  Prosecution Agreement (“DPA”) which the HSBC defendants entered into in 2012.
  Unsurprisingly, this was unavailing, as the DPA does not even mention Saudi Arabia, let alone
  ARB, but focuses chiefly on HSBC’s relationship with sanctioned countries like Iran.

          Inasmuch as the Siegel plaintiffs added no allegations tying the defendants to AQI, had
  fundamentally muddled the allegations in both the Senate Report and DPA, and materially
  misunderstood how correspondent banking works, the district court unsurprisingly concluded that
  the TAC “does not allege any direct relationship with the terrorist organizations” responsible for
  the attacks at issue, but only “accuses the defendants of adopting slipshod banking practices, and
  operating with inadequate anti-money laundering controls,” without tying them to the terrorist
  organization at issue. Siegel II, 2018 WL 3611967, at *4.

         Finally, on appeal, the parties and defendants’ amici unsuccessfully attempted to draw the
  Freeman R&R into the dispute. The Siegel plaintiffs again tried to connect their allegations to
  those in Freeman, which they summarized as “an action pursuant to the ATA against HSBC,
  among other defendants, for terrorist actions in Iran.” Appellants’ Opening Brief, ECF No. 30, at
  21-22. The Siegel defendants’ amici, on the other hand, took the opportunity to denigrate the
  Freeman R&R as an “outlier report and recommendation,” with conclusions that are
  “erroneous[],” “emphatically not the law,” and reflecting a “disregard of Bell Atlantic Corp v.
  Twombly, 550 U.S. 544 (2007), Ashcroft v. Iqbal, 556 U.S. 662 (2009), and their progeny.”
  Amici’s Brief in Support of Defendants-Appellees, ECF No. 68, at 8, 11, 14 n.8, 25.

  Siegel and Freeman Contrasted

          The Court of Appeals focused on the Siegel TAC’s allegations and made a straightforward
  application of In re Terrorist Attacks and Linde v. Arab Bank, PLC, 882 F.3d 314 (2d Cir. 2018)
  to affirm the dismissal for the following reasons.

          First, assuming generously that the Siegel TAC’s reference to § 2333 and alleged breaches
  of fiduciary duty were meant to articulate a claim under JASTA, the Court of Appeals found that
  the TAC failed to allege sufficient allegations for two of the three elements of a § 2333(d) aiding
  and abetting claim: general awareness and substantial assistance. Siegel III at *5. The Freeman
  SAC (which was filed prior to JASTA’s enactment), on the other hand, asserts primary liability
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  claims under § 2333(a) against all defendants, predicated on conspiracy to violate the material
  support statutes (First & Second Claims), as well as additional claims against certain defendants
  for knowing violations of 18 U.S.C. § 2332d and material support statutes. Freeman SAC ¶¶ 2179-
  2293. 3 Civil conspiracy requires neither the defendant’s general awareness of its role in the
  principal tort nor substantial assistance. Instead, a defendant’s agreement to participate in an
  unlawful act makes it liable not just for its own acts, but also for the foreseeable acts of co-
  conspirators committed pursuant to and in furtherance of the conspiracy. See Halberstam v. Welch,
  705 F.2d 472, 477 (D.C. Cir. 1983).

         Second, as noted above, the Siegel plaintiffs’ theory did not involve “stripped” transactions,
  though their complaints erroneously make cursory reference to the practice. Indeed, after losing
  most of the original defendants to personal jurisdiction challenges, the Siegel plaintiffs were left
  only with U.S.-based HSBC defendants. As the HSBC defendants’ brief in support of their
  S.D.N.Y. motion to dismiss noted:

           [S]uch allegations have nothing to do with ARB or this action, do not find any
           factual grounding in the public materials on which Plaintiffs rely, and do not make
           sense in relation to Defendants—a U.S. bank and its U.S. bank-holding company
           parent. Stripping occurs when a non-U.S. financial institution omits or removes
           information from wire transfer documentation to conceal the participation of a
           prohibited person or country, so the transaction is not picked up by compliance
           filters when it is processed by the U.S. correspondent bank. Id. Thus any stripping
           activity or sanctions circumvention necessarily occurs before a transaction reaches
           the U.S. correspondent bank. . . .

  No. 17-cv-06593 (DLC), ECF No. 105, at 4 n.2. See also Appellees’ Br., No. 18-2540-cv, ECF
  No. 37, at 9-10 (“Plaintiffs do not allege that any transactions involving [ARB] or benefitting AQI
  were subjected to ‘stripping.’ Indeed, ‘stripping’ by definition, must occur outside the United
  States and is intended to deceive the U.S. correspondent bank (in this case, HSBC Bank USA).”).

         The district court agreed, noting: “[W]hile the TAC includes substantial quotations and
  descriptions of government findings, none of those sources are cited as providing a basis to allege
  that ARB and the defendants had entered into an agreement about stripping or that any of the
  defendants’ transactions with ARB were subject to stripping.” Siegel II, 2018 WL 3611967, at *1
  n.1 (emphasis added). In other words, not only did the Siegel plaintiffs rely on the wrong parts of
  the Senate Report and the DPA (which did not even mention ARB), they also appear to have
  misunderstood “stripping” and how it works.

          In Freeman, by contrast, the operative complaint accurately cites U.S. government findings
  to allege that Defendants, including HSBC Defendants, engaged in a longstanding and highly
  sophisticated conspiracy with Iran and Iranian counterparties, including the Islamic Revolutionary
  Guard Corps (“IRGC”), to fund the IRGC and Hezbollah, both Foreign Terrorist Organizations
  (“FTOs”) that planned, authorized and committed the terrorist attacks at issue.

  3
           Once JASTA was enacted, the parties fully briefed the applicability of § 2333(d) to the allegations set forth
  in the operative complaint. Therefore, it was fully considered in Magistrate Judge Pollak’s R&R.
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         Third, unlike Bank Saderat Plc, Bank Melli, IRISL, Mahan Air and various other alleged
  co-conspirators identified in Freeman, ARB has never been designated a Specially Designated
  Global Terrorist (“SDGT”) or Specially Designated National (“SDN”), and Saudi Arabia has never
  been designated a state sponsor of terrorism. 4 In Freeman, by contrast, many of the Defendants’
  documented counterparties were designated SDGTs and/or SDNs and instrumentalities of a
  designated state sponsor of terrorism and were, in many cases, agents of the IRGC.

          Finally, in the absence of any connection between the remaining HSBC defendants and
  ARB’s alleged illicit conduct, let alone a connection between the defendants and AQI, the Court
  of Appeals correctly held that the Siegel TAC did not sufficiently plead defendants’ general
  awareness of their role in AQI’s terrorist activities. In stark contrast, in Freeman, Plaintiffs alleged
  that HSBC conspired to facilitate clandestine transactions for, e.g., Bank Saderat (an SDGT), and
  quoted HSBC-Middle East’s Regional Head of Legal and Compliance, who informed senior
  HSBC group officials that the U.S. government had “direct evidence against Bank Saderat
  particularly in relation to the alleged funding of Hezbollah.” Freeman SAC ¶ 518 (emphasis
  added). Indeed, that senior HSBC official acknowledged that U.S. officials suspected “all major
  Iranian state-owned banks of involvement in terrorist financing and WMD procurement.” Id.
  (emphasis added). These were among the ample non-conclusory allegations that led Magistrate
  Judge Pollak to find that “the pleadings allege facts from which a jury could infer that HSBC was
  fully aware that Bank Saderat and Bank Melli, among others, were using HSBC banking services
  as a means to avoid U.S. sanctions and to transfer funds to terrorist organizations, including the
  FTO Hezbollah.” R&R at 72 (emphasis added).

           Like several other actions filed in this District and in the Southern District of New York,
  the Siegel plaintiffs appear to have borrowed substantially from Freeman without fully
  comprehending the allegations they were incorporating. It then added additional HSBC defendants
  and cut and pasted from the Senate Report’s findings concerning ARB – all in a misguided effort
  to relitigate In re Terrorist Attacks and paper over the gaps in the causal chain previously identified
  by the Second Circuit. As we noted during the May 30, 2019 status conference, the Freeman
  plaintiffs cannot copyright their complaint. Nor, unfortunately, can they prevent other plaintiffs’
  counsel from attempting to associate their (in some cases poorly-developed) claims with those
  made here, which were brought against Defendants that have (except for Bank Saderat PLC)
  entered into DPAs in which they admitted to crimes that bear directly on Plaintiffs’ claims.

         For the reasons set forth in the past several years of briefing, Plaintiffs respectfully request
  that Defendants’ objections to the R&R and their motions to dismiss be rejected in their entirety.

                                                         Respectfully submitted,


                                                         /s/ Gary M. Osen

  4
             Moreover, the TAC itself admitted that HSBC ceased doing business with ARB ten months before the attacks
  at issue, detracting from the “presence” factor in the “substantial assistance” analysis required for aiding and abetting
  liability. Siegel III, at *6. In Freeman, the conspiracy continued during the attacks at issue and even afterward.
